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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

Henderson, et al

Vv.

Plaintiff(s), Case No. 20-cv-12649-SFC-RSW

Vision Property Management, LLC, et al

Defendant(s).
/

STATEMENT OF DISCLOSURE
OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

Pursuant to E. D. Mich, LR 83,4, FTE Networks, Inc.

makes the following disclosure: (NOTE: A negative report, if appropriate, is required.)

1.

ls said corporate party a subsidiary or affiliate of a publicly owned corporation?
Yes |_ No jv

   

lf the answer is yes, list below the identity of the parent corporation or affiliate and the relationship
between it and the named party.

Parent Corporation/Affiliate Name:
Relationship with Named Party:

Is there a publicly owned corporation or its affiliate, not a party to the case, that has a substantial financial
interest in the outcome of the litigation?

  

Yes L_

if the answer is yes, list the identity of such corporation or affiliate and the nature of the financial interest.

Parent Corporation/Affiliate Name:
Nature of Financial Interest:

Date: October 6, 2021 /s/ Mary C. Aretha

P78825

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